                        IN THE UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

 HILLARY SCOTT, CHARLES                         )
 KELLEY, DAVID HAYWOOD, AND                     )
 LADY A ENTERTAINMENT LLC,                      )
                                                )
        PLAINTIFFS,                             )
                                                )     NO. ___________________
 VS                                             )
                                                )     JUDGE ________________
 ANITA WHITE,                                   )
                                                )
        DEFENDANT.                              )

                          PLAINTIFFS’ ORIGINAL COMPLAINT

       Plaintiffs Hillary Scott, Charles Kelley, David Haywood, and Lady A Entertainment LLC

file this Original Complaint and allege as follows:

                                              I. PARTIES

       1.      Plaintiff Hillary Scott (“Scott”) is an individual who is a citizen and resident of

Brentwood, Tennessee.

       2.      Plaintiff Charles Kelley (“Kelley”) is an individual who is a citizen and resident of

Nashville, Tennessee.

       3.      Plaintiff David Haywood (“Haywood”) is an individual who is a citizen and

resident of Nashville, Tennessee.

       4.      Plaintiff Lady A Entertainment LLC (“LAE,” and collectively with Scott, Kelley,

and Haywood, “Plaintiffs”) is a Tennessee limited liability company with its principal place of

business located at 2300 Charlotte Avenue, Suite 103, Nashville, Tennessee 37203.

       5.      Defendant Anita White (“White”) is an individual who is a citizen and resident of

Seattle, Washington. White is a blues, soul, and funk musician who—according to publicly-

available information—has performed live music in the Pacific Northwest, particularly Seattle,


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and in various locations throughout the United States, including a recent performance in January

of 2020 at the “Her Majesty Presents 2020 Showcase” in Tennessee. White markets herself as

frequently performing in Memphis.

                                   II. NATURE OF THE ACTION

        6.     This case arises from White’s attempt to enforce purported trademark rights in a

mark that Plaintiffs have held for more than a decade. Plaintiffs seek a declaratory judgment that,

among other things, their use of their trademarks incorporating “Lady A” do not infringe any of

White’s alleged trademark rights in “Lady A.” Plaintiffs do not seek monetary damages through

this action.

                                  III. JURISDICTION AND VENUE

        7.     This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331 and

1338(a), involving alleged violations of the Lanham Act. The Court further has subject matter

jurisdiction pursuant to 28 U.S.C. §§ 2201 and 2202 over actions for declaratory judgment.

        8.     This Court has specific personal jurisdiction over White because White has

purposefully availed herself of doing business in Tennessee. Upon information and belief, White

performs concerts in Tennessee and directs to Tennessee advertising for such musical

performances. Most recently, White performed at the “Her Majesty Presents 2020 Showcase” in

Memphis, Tennessee, in January, 2020. In addition, White directed contacts to the State of

Tennessee during the parties’ attempted negotiation of a coexistence agreement, including

retaining for the purposes of the negotiations an attorney located in Memphis, Tennessee, directing

written correspondence to Plaintiffs, and participating in telephone conferences and a Zoom

videoconference with Plaintiffs while White was aware that Plaintiffs were located in Tennessee.




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        9.      Venue is proper in this district pursuant to 28 U.S.C. § 1391(b) because White is

subject to personal jurisdiction in this judicial district and because a substantial part of the events

giving rise to this action occurred in this judicial district.

                                      IV. FACTUAL ALLEGATIONS

        10.     Scott, Kelley, and Haywood (collectively, the “Musical Group”) are members of a

band that, until June 11, 2020, used the federally-registered brand names “Lady Antebellum” and

“Lady A” to promote their goods and services. However, in recognition of the hurtful connotations

of the word “antebellum,” the Musical Group announced on June 11, 2020 that they would

discontinue using their “Lady Antebellum” brand and use only the federally-registered “Lady A”

brand moving forward. Notably, the Musical Group started using “Lady A” as a source indicator

for their goods and services as early as 2006-2007, adopting as an official brand a name their fans

began associating with the Musical Group as they rose to popularity. The Musical Group has used

“Lady A” interchangeably with “Lady Antebellum” since the 2006-2007 timeframe.

        11.     Indeed, as early as 2008, the Musical Group’s own website referred to the band as

simply “Lady A.”




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See https://web.archive.org/web/20080201172701/http://ladyantebellum.musiccitynetworks.com/

(last accessed on July 7, 2020).

        12.    Since the band’s formation, the Musical Group has formed multiple legal entities,

the first of which, Lady A’D Productions, Inc., was formed in Tennessee in 2007. See Exhibit A.

They subsequently formed LAE in Tennessee in 2010. See Exhibit B. LAE is the successor in

interest (as of August 30, 2010) to trademark rights initially established by Lady A’D Productions,

Inc.

        13.    Also in 2010, the band’s website provided the ability for fans to “buy all of [their]

favorite Lady A songs through the online store,” advertised the “Official Lady A Merch Store,”

and invited users to view behind the scenes video footage that included a “Lady A” watermark on

the bottom corner of the video.


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       14.    On May 18, 2010, Lady A’D Productions, Inc. applied to register “Lady A” in

International Class 41 for entertainment services, including live musical performances and

streaming musical programming. The first use date was identified as 2006, and the first-use-in-

commerce date was identified as 2008. See Exhibit C. The application was assigned to Plaintiff

LAE on August 30, 2010. See Exhibit D. The application was published for opposition on October

19, 2010, and registered on July 26, 2011 (U.S. Reg. No. 4004006) after no oppositions were filed

by any person or entity, including White. See Exhibit E. On May 1, 2017, Plaintiff LAE filed its

Combined Declaration of Use and Incontestability under Sections 8 & 15 with the United States




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Patent and Trademark Office (“USPTO”), which was accepted by the USPTO on June 28, 2017,

acknowledging the registration’s incontestability. See Exhibit F.

       15.     On May 18, 2010, Lady A’D Productions, Inc. also applied to register “Lady A” in

International Class 9 for musical recordings, which was assigned to Plaintiff LAE on August 30,

2010 and published for public opposition on October 19, 2010. See Exhibit C, D. Again, no

oppositions were filed by any person or entity, including White, and the USPTO issued U.S.

Registration Number 4292685. See Exhibit G. Plaintiff LAE filed its Combined Declaration of

Use and Incontestability under Section 9 with the USPTO, which was accepted on September 5,

2019, acknowledging the registration’s incontestability. See Exhibit H.

       16.     On July 21, 2010, Lady A’D Productions, Inc. applied to register “Lady A” in

International Class 25 for clothing. See Exhibit I. That application, which was assigned to Plaintiff

LAE on August 30, 2010, was published for public opposition on July 12, 2011, and after no

oppositions were filed, the USPTO issued U.S. Registration Number 4030752 on September 27,

2011. See Exhibit D, J. Plaintiff LAE filed its Combined Declaration of Use and Incontestability

under Sections 8 & 15 on December 4, 2017, acknowledging the registration’s incontestability.

See Exhibit K. U.S. Trademark Registration Nos. 4004006, 4030752, and 4292685 are

collectively, the “LADY A Registrations.”

       17.     White did not oppose any of LAE’s applications for the LADY A mark.

       18.     White has not sought to cancel any of the LADY A Registrations.

       19.     Prior to 2020, White did not challenge, in any way, Plaintiffs’ open, obvious, and

widespread nationwide and international use of the LADY A mark as a source indicator for

Plaintiffs’ recorded, downloadable, and streaming music and videos, Plaintiffs’ live musical

performances, or Plaintiffs’ sale of souvenir merchandise.




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       20.     The Musical Group’s use of “Lady A” as a brand was not minor or insignificant.

Indeed, the media and the Musical Group’s fans strongly associated the “Lady A” brand with the

Musical Group in highly-visible ways.




       21.     Over the course of their decade-plus career, Lady A has become one of the twenty-

first century’s premier vocal groups, blending deeply-felt emotions with classic Country sounds.

As a Country-radio staple, the trio has amassed record-breaking success, ushering in ten No. 1 hits

with more than 18 million album units, 34 million tracks sold, and nearly five billion digital

streams. Known for their 9X Platinum hit “Need You Now” which is the highest certified song by

a Country group, they have earned ACM and CMA “Vocal Group of the Year” trophies three years

in a row and countless other honors including seven GRAMMY awards, Billboard Music Awards,

People’s Choice Awards, Teen Choice Awards, and a Tony Award nod.

       22.     The Musical Group recently learned that White, a blues, soul, and funk artist

located in Seattle, Washington, performs under the stage name “Lady ‘A’” in the Pacific

Northwest, Louisiana, Mississippi, and Tennessee. According to publicly-available information,


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White used “Lady ‘A’” to identify herself as the performer on recorded music originally released

in 2010, 2013, 2016, and 2018. Although White’s recorded music and the Musical Group’s

recorded music both appear on Spotify, each party’s music is immediately distinguishable. For

example, the Musical Group has a unique Lady A artist page with over 7 million monthly listeners

featuring only the Musical Group’s music (including its album artwork) beneath a prominent photo

of the Musical Group, while White has a separate unique Lady “A” artist page with (as of filing)

166 monthly listeners featuring three of her four albums (including her album artwork) beneath a

prominent photo of White. In addition, there is another Lady A artist page with White’s photo at

the top, but the page combines at least four musical artists performing recorded music under the

name Lady A (one of which is White, but none of which are the Musical Group).

       23.     Based on information and belief, White has never used “Lady ‘A’” as a trademark

to identify her goods or as a service mark to identify her entertainment services. If, at any point,

White’s use of “Lady ‘A’” to identify herself as a musical performer became a trademark use, such

trademark use began after Plaintiffs established their trademark and service mark rights in the

LADY A mark.

       24.     Based on information and belief, White has never applied to register “Lady ‘A’” as

a trademark or service mark.

       25.     Upon information and belief, no consumers have been confused with the source of

Plaintiffs’ music and the source of White’s music.

       26.     Plaintiffs contacted White, seeking to reach agreement on continuing to share the

use of “Lady A” as they had for 14 years (Plaintiffs as a trademark and service mark for their

Musical Group and its goods/services, and White as the name of a musical performer) and set up

a videoconference with White. On June 15, 2020, White posted on her Instagram account, under




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username @ladya_bluesdiva, a photo from the parties’ Zoom videoconference. The photo included

the following caption: “Today, we connected privately with the artist Lady A. Transparent, honest,

and authentic conversations were had. We are excited to share we are moving forward with positive

solutions and common ground. The hurt is turning into hope. More to come.”




See https://www.instagram.com/p/CBeiDpAHN6z/ (last accessed on July 7, 2020).

       27.     Plaintiffs and White – and later Plaintiffs’ counsel and White’s counsel – discussed

various forms of cooperation through which not only would the Plaintiffs and White continue to

peacefully coexist, but Plaintiffs would support White’s musical career. During their Zoom

conference, Plaintiffs and White discussed co-writing and jointly recording a new song that would

be promoted and commercialized by the parties, and soon afterward, began collaborating on the

writing process.




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       28.     After Plaintiffs’ counsel prepared and delivered a draft agreement memorializing

the discussions between Plaintiffs and White, White provided a quote to Newsday that “I received

a draft agreement from the Antebellum camp. I’m not happy about [it] yet again after talking in

good faith . . . Their camp is trying to erase me and I’ll have more to say tomorrow. Trust is

important and I no longer trust them.” See https://www.newsday.com/entertainment/music/lady-

antebellum-lady-a-1.45795425 (last accessed on July 8, 2020).

       29.     Notwithstanding White’s comments, her counsel continued to negotiate a draft

agreement with Plaintiffs’ counsel. Other than a nominal reimbursement of attorneys’ fees, a

monetary payment was never offered or demanded.

       30.     The next day (June 25th), at 10:27 PM EST, White’s new counsel contacted

Plaintiffs’ counsel, stating, in pertinent part, that “Cooley LLP represents Ms. White in connection

with trademark litigation matters. Please direct all future communications concerning the dispute

between Lady Antebellum and Ms. White to us” and “We possess what we believe is the latest

proposed settlement agreement. We are reviewing the agreement now. We will respond in due

course.” (emphasis added).

       31.     Eleven days later (July 7th), without any discussion or context (notwithstanding

Plaintiffs’ attempts to contact White’s new counsel) and notwithstanding White’s Instagram post

21 days prior extolling the Musical Group’s and White’s join goal of turning “hurt into hope,”

White’s new counsel delivered a draft settlement agreement that included an exorbitant monetary

demand, while maintaining the cooperation and collaboration obligations. See Exhibit L, filed

under seal. Paired with White’s public statements, White’s demand for an exorbitant payment in

exchange for continued coexistence, notwithstanding the previous absence of discussion of any

payment (other than reimbursement of nominal attorneys’ fees), gives rise to imminent




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controversy, demonstrating a course of action from which a threat of suit could be inferred based

on White’s charge of infringement, and giving rise to this Court’s jurisdiction under 28 U.S.C. §§

2201 and 2202.

        32.     Plaintiffs do not wish to prohibit White from performing under the name “Lady A”

or otherwise identifying herself as a musical performer named “Lady A,” nor do Plaintiffs seek

any monetary damages whatsoever. Rather, Plaintiffs simply wish that the parties continue to

coexist, and that Musical Group be permitted to continue using the LADY A mark, for which LAE

holds the incontestable LADY A Registrations and for which the Musical Group’s goods and

services have been identified for over a decade around the world.

        33.     Through this action, Plaintiffs further seek a declaration that their continued use of

the LADY A mark does not infringe on any of White’s alleged trademark rights or her non-

trademark use of “Lady A” to identify herself as a musical performer.

                                         V. CAUSE OF ACTION

                         (Declaratory Judgment Under 28 U.S.C. § 2201)

        34.     Plaintiffs incorporate the allegations set forth in each of the preceding paragraphs

as if fully set forth herein.

        35.     An actual case or controversy exists between Plaintiffs and White as to Plaintiffs’

continued use of the LADY A mark in connection with, among other things, musical recordings,

performances, and merchandise.

        36.     White has asserted that Plaintiffs do not have the right to use the LADY A mark

due to her use of “Lady A”.

        37.     Plaintiffs seek a declaration from this Court that they are lawfully using the LADY

A mark and that their use of the mark and intent to continue using the mark do not infringe any




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rights White may have under state or federal law, including any rights under the Lanham Act, 15

U.S.C. § 1501, et seq.

       38.      This Court has jurisdiction over the claim asserted in this Complaint.

       39.      This controversy is ripe for adjudication.

                                      VI. PRAYER FOR RELIEF

       40.         WHEREFORE, Plaintiffs respectfully request that the Court enter judgment in

their favor and:

             a. Enter a declaratory judgment that Plaintiffs’ use of the LADY A mark does not and

                would not infringe upon or otherwise violate any of White’s claimed rights in “Lady

                A,” including any trade names or common law rights;

             b. Enter a declaratory judgment confirming that LAE’s LADY A Registrations are

                valid, subsisting, and incontestable; and

             c. Grant other such further relief, in law or at equity, to which Plaintiffs may be

                entitled.




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DATED: July 8, 2020                      Respectfully Submitted,

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